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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
ANNIE JOUANNY,              )
               Plaintiff    )
          v.                )                CIVIL ACTION
                            )                NO.:1:16-CV-00135-APM
EMBASSY OF FRANCE IN THE )
UNITED STATES,              )
               Defendant.   )


                   Acknowledgment of Service and Renewal of Motion to Dismiss


       The Embassy of France in the United States, through counsel, hereby acknowledges that

the Ministry of Foreign Affairs in Paris has received, on or about January 19, 2017, the

Complaint along with the Summons and a translation.

       On July 24, 2016, the Embassy filed a motion to dismiss based on three alternative

grounds on the merits and for improper service.

       On December 7, 2016, the Court granted the Motion based on improper service without

any findings on the other grounds. The Court also gave Plaintiff leave to properly serve the

Complaint.

       Now that the Embassy has acknowledged service, it resubmits its motion to dismiss and

respectfully requests a ruling on the three alternative grounds for dismissal which have been fully

briefed in Defendant’s Motion, the Plaintiff’s Opposition, and the Defendant’s Reply,

respectively Docket # 10, 11 and12.

                              Respectfully Submitted,


                                     /s/
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